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1
                          UNITED STATES DISTRICT COURT
2
                      FOR THE NORTHERN DISTRICT OF NEW YORK
3
                                      -ooOoo-
4
                NIKE, INC.,                        :
5
                           Plaintiff,              :
6
                vs.                                : No. 1:22-cv-00983-VEC
7
                STOCKX LLC,                        :
8
                           Defendant.              :
9
                ________________________           :
10
11
                         DEPOSITION OF BROCK HUBER
12                             TAKEN THROUGH
              ADVANCED REPORTING SOLUTIONS, a Veritext company
13
14
15
16                      Taken on Thursday, June 29, 2023
17                          9:30 a.m. to 12:38 p.m.
18
19                         At HYATT CENTRIC PARK CITY
                            3551 North Escala Court
20                           Park City, Utah 84098
21
22
23
24
25       Reported by:     Abigail D.W. Johnson, RPR, CRR, CRC

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1                                  A P P E A R A N C E S
2
         For the Plaintiff:
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         For StockX:
14
                      Kevin Adams
15                    Deputy General Counsel
                      StockX
16
17       Also Present: McKayla Largin (videographer)
18                               -ooOoo-
19
20
21
22
23
24
25

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1        course of business at StockX.               A seller was paired with

2        a buyer.        The buyer in this case being Roy Kim.                The

3        items were shipped from the seller to one of our

4        authentication centers, passed through our proprietary

5        verification process and were ultimately shipped out to

6        this buyer.

7                   Q.    Okay.     And you stated in connection with

8        your testimony regarding Abe Zurita -- is that his last

9        name?

10                  A.    Mm-hmm.

11                  Q.    That the products that appear -- strike

12       that -- the order numbers associated with the products

13       that were shipped to Roy Kim were returned by Roy Kim;

14       is that correct?

15                  A.    Yes.    That is correct.              That is our policy

16       and has always been our policy.                If an end buyer has an

17       issue with an order, they reach out to our customer

18       service.        They suspect something they received is

19       inauthentic.       We will initiate a review, which

20       typically starts with receiving some pictures of the

21       items in question.          And after that photographic review,

22       if we continue to have doubts with the order, we will

23       ask the buyer to send it back to us for an inspection,

24       like the one that Abe did here.

25                  Q.    Okay.     So it's your testimony that Abe

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14                  Q.   Okay.    Other than Roy Kim, was any other

15       StockX consumer shipped product from this group of bad

16       actors?

17                  A.   We don't believe there is any reason to

18       suggest that more bad product went through our process

19       and made it through.

20                       It's also important to realize a lot of

21       these bad actors will ship good product in an effort to

22       have positive account attributes in order to trick the

23       StockX verification process and our fraud team.

24                  Q.   Why don't you have any reason to suggest

25       that more bad product went through and made it through?

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1                   A.   We have a lot of good faith in our

2        verification process, that our authentication team, you

3        know, when following our operating procedures and

4        inspecting these like Abe and John did, would reject

5        these items.

6                        And we don't -- we didn't have any other

7        buyers who complained about the products that they

8        received, and no reinspections were -- were necessary.

9                   Q.   Okay.    So 33 of these clearly did not get

10       caught and made it to a customer.

11                       So are you saying that you don't have any

12       reason to suspect that additional product made it

13       through simply because you didn't receive any other

14       complaints from consumers?

15                  A.   That is a data point, we did not receive

16       any complaints from consumers.              But the other items

17       went through our verification process, which we stand

18       by.    And I think that it is important to note, while 33

19       is a totally dissatisfactory number, you know, Roy Kim,

20       as an individual, made 2,300-plus orders with StockX

21       that he has never had an issue before.                 And he

22       continues to shop with us, even after this incident,

23       because he knows, you know, the quality of our program.




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                                                                          And so

5       again, I think, it's probably important to know with

6       this investigation that, you know, our -- the way our

7       platform works, the buyer and seller are anonymous to

8       each other, but they -- neither of them are anonymous

9       to us in any way.




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4                   Q.   Sounds like it's a good time for a break

5        then.

6                   A.   Yeah, let's do it.

7                   Q.   Okay.

8                        VIDEOGRAPHER:        We are off the record.             The

9        time is 10:30.

10                       (Recess was taken.)

11                       VIDEOGRAPHER:        We are back on the record.

12       The time is 10:50.

13                       Counsel may proceed.

14       BY MS. DUVDEVANI:

15                  Q.   Okay.     What did you do to prepare for

16       today's deposition?

17                  A.   I spent some time with Abe Zurita.                I spent

18       some time with John Lopez, with Mark Porteous.                    And

19       Jennifer from Mark Porteous' team and asked them

20       questions, given their varied involvement in the

21       preparation of these materials, and just asked them to

22       recall what they could about the -- the time about a

23       year ago.

24                  Q.   Okay.     Did you do anything else?

25                  A.   I prepared with the legal advisors as well.

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1        wouldn't punish the seller for that, because they

2        behaved appropriately.

3                        There is a potential for any technology

4        company for there to be a bug, an order for some reason

5        doesn't work.        And so basically just -- in areas where

6        a transaction is unsuccessful, but the seller behaved

7        appropriately, we could potentially end up with

8        inventory.

9                   Q.   Okay.     Does StockX ever get inventory from

10       products that are returned by consumers?

11                  A.   Yes.     And it would, again, vary based on

12       why it was returned.         If we got an item that was

13       suspected to be inauthentic, we would not take it into

14       inventory.

15                       We would, of course, make the buyer whole,

16       but those items would not go into a pool that could

17       potentially be resold.          And they ultimately get -- get

18       destroyed.

19                       The other place we could have inventory is

20       if we have an agreement with a brand, again, it's not

21       going to be necessarily ours, but we have custody over

22       it, and it could be parked at one of our facilities.

23       And when it's sold, we could fulfill those items on

24       behalf of the brand, and it could come out of an

25       inventory account.

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11                  Q.   Okay.     What happened to the other sellers

12       that sold Roy Kim a fake product --

13                  A.   So --



15                  A.   So everybody that Mark and team were able,

16       in their analysis, to determine was part of this bad

17       actor group, that seemed to be emanating from a small

18       number of unique devices, was banned.

19                  Q.   Anybody else?

20                  A.   No.     I think outside of the folks who are

21       connected to the fraud ring, there wasn't anything that

22       looked like egregious, intentional abuse of the

23       platform.

24                  Q.   Are you aware, looking at the Copy of

25       Referenced Social Media worksheet, which of the sellers

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